                                        Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 1 of 23 PageID #: 16021

                                                                     EXHIBIT C TO JOINT PRE-TRIAL ORDER
                                                    Plaintiff and Counterclaim Defendant Hy-Ko Products, LLC’s Trial Exhibits

                                                                       UNITED STATES DISTRICT COURT
                                                                        EASTERN DISTRICT OF TEXAS
                                                                            MARSHALL DIVISION

HY-KO PRODUCTS COMPANY, LLC,       PLAINTIFF HY-KO PRODUCTS COMPANY, LLC’S TENTH AMENDED TRIAL EXHIBIT LIST

             Plaintiff,            Case Number: 2:21-cv-0197-JRG

      v.                           JURY TRIAL DEMANDED

THE HILLMAN GROUP, INC.,

             Defendant.


Presiding Judge                            Plaintiff’s Lead Attorney                           Court Reporter
Hon. Rodney Gilstrap                       David S. Elkins                                     Shawn McRoberts
Trial Date                                 Defendant’s Lead Attorney                           Court Deputy
10/3/2022                                  Jennifer L. Truelove                                Kecia Cledening


   PLF NO.     DATE OFFERED    MARKED      ADMITTED          DATE      DESCRIPTION                                  BEG BATES             END BATES   PRE-ADMITTED
PTX-0001                                                               U.S. Patent No. 9,656,332 and                                                       X
                                                                       Certificate of Correction
PTX-0003                                                               U.S. Patent No. 9,687,920                                                           X
PTX-0004                                                               U.S. Patent No. 10,421,133                                                          X
PTX-0018                                                 4/8/2011      E-mail from G. Heredia regarding      HILLMAN-000005700   HILLMAN-000005703         X
                                                                       key off chain problem; G. Heredia
                                                                       Dep. Ex. 9; J. White Dep. Ex. 4; S.
                                                                       Basham Dep. Ex. 10
PTX-0019                                                 5/13/2011     E-mail from P. Jurczak regarding      HILLMAN-000005707   HILLMAN-000005708         X
                                                                       Blade only key ID; G. Heredia Dep.
                                                                       Ex. 10; J. White Dep. Ex. 5; S.
                                                                       Basham Dep. Ex. 11
PTX-0020                                                 5/26/2011     E-mail from G. Heredia to C.          HILLMAN-000005712   HILLMAN-000005714         X
                                                                       Church and R. Hillman regarding
                                                                       P4 Enhancement Options; J. White
                                                                       Dep. Ex. 6; G. Heredia Dep. Ex. 11
PTX-0021                                                 7/3/2011      E-mail from S. Basham to G.           HILLMAN-000005716   HILLMAN-000005717         X
                                                                       Heredia regaridng Walmart notes;
                                                                       G. Heredia Dep. Ex. 12
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 2 of 23 PageID #: 16022

   PLF NO.   DATE OFFERED   MARKED      ADMITTED       DATE     DESCRIPTION                                  BEG BATES             END BATES   PRE-ADMITTED
PTX-0022                                           3/16/2012    E-mail from S. Basham regarding       HILLMAN-000005729   HILLMAN-000005729         X
                                                                snapshot of Blade Only ID System;
                                                                S. Basham Dep. Ex. 12; G. Heredia
                                                                Dep. Ex. 14
PTX-0023                                                        Hillman PKOR Key Duplication          HILLMAN-000005778   HILLMAN-000005808         X
                                                                System User Guide
PTX-0025                                           7/7/2016     P4 / PKOR Laser Key Machine           HILLMAN-000005817   HILLMAN-000005908         X
                                                                Service & Technical Guide; G.
                                                                Heredia Dep. Ex. 8
PTX-0026                                           7/2/2020     Complete Keykrafter Service Guide     HILLMAN-000005930   HILLMAN-000006035         X
                                                                PDF
PTX-0029                                                        Hillman Axxess Video; J. White        HILLMAN-000009168   HILLMAN-000009168         X
                                                                Dep. Ex. 2
PTX-0030                                                        Hillman Laser Key Tutorial Video      HILLMAN-000009173   HILLMAN-000009173         X
PTX-0031                                                        Hillman Laser Key Identifying a Kay   HILLMAN-000009174   HILLMAN-000009174         X
                                                                Tutorial Video
PTX-0034                                           11/8/2021    Keykrafter User Guide Associate       HILLMAN-000011406   HILLMAN-000011436         X
                                                                Unit with Key Identifier PDF
PTX-0035                                           11/10/2021   KeyKrafter Master Store List.xlsx     HILLMAN-000011519   HILLMAN-000011519         X
PTX-0036                                                        2018 KeyKrafter Placement             HILLMAN-000011520   HILLMAN-000011520         X
                                                                Agreement.doc
PTX-0037                                                        Screenshot of Hillman SolidWorks      HILLMAN-000012500   HILLMAN-000012500         X
                                                                Drawing; Basham Dep. Ex. 31
PTX-0037-A                                                      CAD file HILLMAN-                     HILLMAN-000012500   HILLMAN-000012500         X
                                                                000012500.sldasm
PTX-0038                                                        Screenshot of Hillman SolidWorks      HILLMAN-000013155   HILLMAN-000013155         X
                                                                Drawing; Basham Dep. Ex. 29
PTX-038-A                                                       CAD file_HILLMAN-                     HILLMAN-000013155   HILLMAN-000013155         X
                                                                000013155.sldasm
PTX-0039                                                        Screenshot of SolidWorks              HILLMAN-000013497   HILLMAN-000013497         X
                                                                Assembly (26031-01.SLDASM)
PTX-039-A                                                       CAD file HILLMAN-                     HILLMAN-000013497   HILLMAN-000013497         X
                                                                000013497.sldasm
PTX-0040                                                        Screenshot of Hillman SolidWorks      HILLMAN-000014112   HILLMAN-000014112         X
                                                                Drawing; J. White Dep. Ex. 9; S.
                                                                Basham Dep. Ex. 27; G. Heredia
                                                                Dep. Ex. 16
PTX-0040-A                                                      CAD file HILLMAN-                     HILLMAN-000014112   HILLMAN-000014112         X
                                                                000014112.sldasm
PTX-0040-B                                                      HILLMAN-000014112 CAD                                                               X
                                                                collection
PTX-0041                                                        Screenshot of Hillman SolidWorks      HILLMAN-000014185   HILLMAN-000014185         X
                                                                Drawing; Basham Dep. Ex. 30
PTX-041-A                                                       CAD file HILLMAN-                     HILLMAN-000014185   HILLMAN-000014185         X
                                                                000014185.sldasm
PTX-0046                                                        2018 Smartbox Placement               HILLMAN-000016509   HILLMAN-000016509         X
                                                                Agreement.doc

                                                                                   -2-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 3 of 23 PageID #: 16023

   PLF NO.   DATE OFFERED   MARKED      ADMITTED      DATE      DESCRIPTION                                 BEG BATES             END BATES   PRE-ADMITTED
PTX-0054                                                        Hillman Tempe; AZ Presentation       HILLMAN-000018307   HILLMAN-000018311         X
                                                                Powerpoint slides; T. Spangler
                                                                Dep. Ex. 10
PTX-0055                                           3/14/2017    2017 Ace Business Summary            HILLMAN-000018312   HILLMAN-000018315         X
                                                                Powerpoint
PTX-0066                                                        Ace 2017 Resource Deployment         HILLMAN-000018816   HILLMAN-000018836         X
                                                                Review Powerpoint Slides
PTX-0075                                           4/20/2017    Automotive Security Key Coverage     HILLMAN-000021996   HILLMAN-000021996         X
                                                                spreadsheet; B. Hillman Dep. Ex. 8
PTX-0076                                                        Best Selling Cars by Year; R.        HILLMAN-000021997   HILLMAN-000021997         X
                                                                Popkey Dep. Ex. 20
PTX-0077                                           6/30/2016    Hillman Lowes Keys and               HILLMAN-000022216   HILLMAN-000022333         X
                                                                Accessories PLR Powerpoint
                                                                slides; T. Spangler Dep. Ex. 7
PTX-0079                                           10/5/2016    Ace Hillman Key & Key                HILLMAN-000022433   HILLMAN-000022528         X
                                                                Accessories 2016 PLR Powerpoint
                                                                Slides
PTX-0080                                           11/17/2016   Ace Hillman Key &amp; Key            HILLMAN-000022764   HILLMAN-000022783         X
                                                                Accessories Why Hillman?
                                                                Powerpoint Slides
PTX-0083                                           5/22/2017    Key & Key Accessories PLR            HILLMAN-000022950   HILLMAN-000022978         X
                                                                Presented to Ace Hardware -
                                                                Strategic Marketing Proposal
PTX-0084                                           7/28/2017    Ace Hardware Keys; Key               HILLMAN-000023059   HILLMAN-000023060         X
                                                                Accessories; and Auto Security
                                                                Letter of Understanding; G. Seeds
                                                                Dep. Ex. 11
PTX-0088                                           11/7/2017    2017 KeyKrafter Placement            HILLMAN-000023205   HILLMAN-000023206         X
                                                                Agreement - First 350 Stores.doc
PTX-0089                                           11/7/2017    2017 Smartbox Placement              HILLMAN-000023207   HILLMAN-000023208         X
                                                                Agreement - First 350 Stores.doc
PTX-0092                                           3/28/2018    Ace Hardware Keys; Key               HILLMAN-000023566   HILLMAN-000023567         X
                                                                Accessories; and Auto Security
                                                                Letter of Understanding; G. Seeds
                                                                Dep. Ex. 12
PTX-0095                                           10/10/201    ACE Sales by Store - Keys            HILLMAN-000023855   HILLMAN-000023855         X
                                                   8            and Fasteners Jan '17 -
                                                                Sept '18.xlsx
PTX-0099                                           1/20/2017    2016 Hillman Smartbox Agreement      HILLMAN-000025611   HILLMAN-000025611         X
PTX-0100                                           4/9/2018     Letter Agreement Between Ace and     HILLMAN-000025717   HILLMAN-000025718         X
                                                                Hillman regarding purchase of
                                                                Hillman products; G. Seeds Dep.
                                                                Ex. 13
PTX-0101                                                        Orchard Supply Store Visits          HILLMAN-000025727   HILLMAN-000025772         X
                                                                1/19/2016-1/21/2016 Power Point;
                                                                G. Seeds Dep. Ex. 16/White Dep.
                                                                Ex. 22

                                                                                  -3-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 4 of 23 PageID #: 16024

   PLF NO.   DATE OFFERED   MARKED      ADMITTED       DATE     DESCRIPTION                                BEG BATES             END BATES   PRE-ADMITTED
PTX-0106                                           3/27/2018    KeyKrafter Training Manual -        HILLMAN-000026387   HILLMAN-000026406         X
                                                                Rev.aspx
PTX-0110                                           9/27/2016    Lighting Strike; Duracell and       HILLMAN-000027244   HILLMAN-000027262         X
                                                                Hillman Master Supply Agreement;
                                                                G. Seeds Dep. Ex. 9
PTX-0111                                           1/1/2021     AKG and Hillman Master Supply       HILLMAN-000027263   HILLMAN-000027283         X
                                                                Agreement; G. Seeds Dep. Ex. 10
PTX-0122                                           1/3/2022     KeyKrafter; KOR; P4 part number     HILLMAN-000029548   HILLMAN-000029548         X
                                                                Excel sheet; J. White Dep. Ex. 8
PTX-0129                                           4/9/2011     Draft Walmart Keyworks by Hillman   HILLMAN-000031826   HILLMAN-000031856         X
                                                                Presentation for Team Conference
                                                                Call Review
PTX-0130                                                        Total Keykrafter Lease Revenue      HILLMAN-000031857   HILLMAN-000031857         X
                                                                spreadsheet; G. Seeds Dep. Ex. 27
PTX-0132                                                        Asset Locations Excel Sheet; G.     HILLMAN-000032133   HILLMAN-000032133         X
                                                                Seeds Dep.Ex. 24
PTX-0133                                                        Sales by Customers and              HILLMAN-000032134   HILLMAN-000032134         X
                                                                Store spreadsheet; G.
                                                                Seeds Dep. Ex. 25
PTX-0135                                           9/3/2014     E-mail from E. Kaehr to S. Basham   HILLMAN-000032974   HILLMAN-000032974         X
                                                                regarding Ordering PKOR
                                                                machines for beta testing
PTX-0136                                           10/13/2014   E-mail from M. Hicks to S. Basham   HILLMAN-000035097   HILLMAN-000035098         X
                                                                regarding PKOR PRODUCTION
                                                                STAGE GATE SLIDES
PTX-0137                                           10/13/2014   PKOR Beta Release Stage Gate; J.    HILLMAN-000035099   HILLMAN-000035112         X
                                                                White Dep. Ex. 7; S. Basham Dep.
                                                                Ex. 14; attachment to HILLMAN-
                                                                000035097
PTX-0138                                                        E-mail from M. Hicks regarding      HILLMAN-000035182   HILLMAN-000035182         X
                                                                PKOR GATE 5 SIGN-OFF
                                                                MEETING
PTX-0139                                           10/24/2014   PKOR Production Stage Gate          HILLMAN-000035183   HILLMAN-000035194         X
                                                                102314.pptx; attachment to
                                                                HILLMAN-000035182
PTX-0140                                           11/3/2014    E-mail from M. Hicks regarding      HILLMAN-000035249   HILLMAN-000035250         X
                                                                PKOR POST STAGE GATE
                                                                FOLLOW UP;
PTX-0141                                           11/3/2014    PKOR Production Stage Gate          HILLMAN-000035251   HILLMAN-000035262         X
                                                                102314.pptx; attachment to
                                                                HILLMAN-000035249
PTX-0144                                           6/3/2015     E-mail from C. Church regarding     HILLMAN-000039364   HILLMAN-000039365         X
                                                                PKOR; Basham Dep. Ex. 18
PTX-0145                                           8/4/2015     E-mail from M. Hicks to S. Basham   HILLMAN-000039818   HILLMAN-000039819         X
                                                                regarding PKOR
PTX-0146                                           10/21/2015   E-mail from B. Miller regarding     HILLMAN-000040189   HILLMAN-000040190         X
                                                                UWS #3292 Manhattan PKOR
                                                                Machine
                                                                                  -4-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 5 of 23 PageID #: 16025

   PLF NO.   DATE OFFERED   MARKED      ADMITTED       DATE     DESCRIPTION                                  BEG BATES             END BATES   PRE-ADMITTED
PTX-0148                                           11/10/2015   ES PKOR Ships Oct 2014 - Oct          HILLMAN-000040344   HILLMAN-000040344         X
                                                                2015.xlsx; attachment to HILLMAN-
                                                                000040340
PTX-0149                                           11/30/2015   Tempe KeyKrafter Test Procedure;      HILLMAN-000040808   HILLMAN-000040827         X
                                                                Basham Dep. Ex. 22
PTX-0151                                                        KeyKrafter Actions List Excel         HILLMAN-000041221   HILLMAN-000041221         X
                                                                Sheet; S. Basham Dep. Ex. 9
PTX-0152                                           7/21/2016    E-mail from E. Holmberg regarding     HILLMAN-000042477   HILLMAN-000042477         X
                                                                KeyKrafter Beta Units Update
PTX-0153                                           7/21/2016    KeyKrafter Weekly Performance         HILLMAN-000042478   HILLMAN-000042482         X
                                                                Update Powerpoint
PTX-0154                                           9/16/2016    E-mail and attachment from J.         HILLMAN-000042666   HILLMAN-000042666         X
                                                                White to S. Basham regarding
                                                                Project Inside Out 9/16/2016
PTX-0155                                           9/16/2016    KeyKrafter Weekly Performance         HILLMAN-000042667   HILLMAN-000042676         X
                                                                Update Powerpoint
PTX-0157                                           7/31/2017    YTD Chain Location                    HILLMAN-000045740   HILLMAN-000045740         X
                                                                Report 2017.xlsx

PTX-0158                                           5/29/2019    YTD Chain Location                    HILLMAN-000062086   HILLMAN-000062086         X
                                                                Report.xlsx
PTX-0159                                           11/20/2019   E-mail from S. Basham to J.           HILLMAN-000094801   HILLMAN-000094803         X
                                                                Campbell regarding P4 support; S.
                                                                Basham Dep. Ex. 37
PTX-0164                                           2/20/2015    E-mail from E. Kaehr regarding        HILLMAN-000100952   HILLMAN-000100953         X
                                                                P4/PKOR Software Update; R.
                                                                Fagundo Dep. Ex. 19; S. Basham
                                                                Dep. Ex. 34; G. Seeds Dep. Ex. 2
PTX-0165                                           2/20/2015    E-mail from E. Kaehr regarding        HILLMAN-000100957   HILLMAN-000100957         X
                                                                P4/PKOR Software Update;
                                                                Basham Dep. Ex. 17
PTX-0167                                           7/11/2016    E-mail from J. Mazek regarding        HILLMAN-000103903   HILLMAN-000103903         X
                                                                Ace Key and Key Accessory Line
                                                                Review Invitation
PTX-0168                                           7/11/2016    2016 Keys Review Letter.doc;          HILLMAN-000103904   HILLMAN-000103906         X
                                                                attachment to HILLMAN-
                                                                000103903
PTX-0170                                           7/26/2016    E-mail from M. Peterman to L.         HILLMAN-000104283   HILLMAN-000104287         X
                                                                Williams regarding field survey; M.
                                                                Peterman Dep. Ex. 4
PTX-0171                                           11/19/2016   E-mail from R. Popkey regarding       HILLMAN-000105329   HILLMAN-000105332         X
                                                                Side-by-Side coverage comparison
                                                                from Popkey; R. Popkey Dep. Ex. 7
PTX-0172                                           11/20/2016   E-mail from R. Popkey regarding       HILLMAN-000105337   HILLMAN-000105337         X
                                                                Total Vehicle Coverage
                                                                Comparison Data; R. Popkey Dep.
                                                                Ex. 8

                                                                                   -5-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 6 of 23 PageID #: 16026

   PLF NO.   DATE OFFERED   MARKED      ADMITTED       DATE     DESCRIPTION                                  BEG BATES             END BATES   PRE-ADMITTED
PTX-0173                                           11/20/2016   Total Vehicle Coverage                HILLMAN-000105338   HILLMAN-000105523         X
                                                                Comparison Data Chart;
                                                                attachment to HILLMAN-
                                                                000105337; R. Popkey Dep. Ex. 9
PTX-0174                                           11/20/2016   Total Vehicle Coverage                HILLMAN-000105525   HILLMAN-000105543         X
                                                                Comparison Data Chart;
                                                                attachment to HILLMAN-
                                                                000105337; R. Popkey Dep. Ex. 10
PTX-0175                                           11/20/2016   Smartbox Programming Coverage;        HILLMAN-000105544   HILLMAN-000105544         X
                                                                attachment to HILLMAN-
                                                                000105337; R. Popkey Dep. Ex. 11
PTX-0176                                           11/21/2016   Hillman Ace Hardware Investment       HILLMAN-000105549   HILLMAN-000105549         X
                                                                Analysis Excel sheet; J. White Dep.
                                                                Ex. 16
PTX-0179                                           12/21/2016   E-mail from T. Spangler regarding     HILLMAN-000106073   HILLMAN-000106074         X
                                                                ACE Presentation for Board
                                                                Members
PTX-0180                                           12/21/2016   Auto Program Comparison Chart         HILLMAN-000106075   HILLMAN-000106075         X
                                                                PDF; attachment to HILLMAN-
                                                                000106073
PTX-0194                                           3/16/2017    E-mail from R. Popkey to G. Seeds     HILLMAN-000111176   HILLMAN-000111176         X
                                                                regarding Auto Coverage
                                                                Comparison
PTX-0198                                           3/31/2017    E-mail from B. Hillman regarding      HILLMAN-000112039   HILLMAN-000112039         X
                                                                data available to compare Smart
                                                                Box to C-3
PTX-0199                                           3/31/2017    Total Vehicle Coverage                HILLMAN-000112040   HILLMAN-000112225         X
                                                                Comparison Data.pdf; attachment
                                                                to HILLMAN-000112039
PTX-0200                                           3/31/2017    Data for Year Over Year               HILLMAN-000112227   HILLMAN-000112245         X
                                                                Comarison.pdf; attachment to
                                                                HILLMAN-000112039
PTX-0201                                           3/31/2017    Summary Year Over Year                HILLMAN-000112246   HILLMAN-000112246         X
                                                                Comarison.pdf; attachment to
                                                                HILLMAN-000112039
PTX-0209                                           4/26/2017    Clone Coverage Data Spreadsheet;      HILLMAN-000113728   HILLMAN-000113728         X
                                                                B. Spires Dep. Ex. 20/B. Hillman
                                                                Dep. Ex. 8
PTX-0210                                           5/4/2017     Ace Hardware business                 HILLMAN-000114443   HILLMAN-000114443         X
                                                                case 3-28-17 updated
                                                                product pricing.xlsx
PTX-0211                                           5/12/2017    E-mail from B. Hillman to G. Seeds    HILLMAN-000114524   HILLMAN-000114525         X
                                                                regarding Key Retail
                                                                Implementation
PTX-0213                                           8/16/2017    E-mail from M. Peterman regarding     HILLMAN-000119223   HILLMAN-000119229         X
                                                                Ace Key Partnership Information;
                                                                Peterman Dep. Ex. 14

                                                                                   -6-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 7 of 23 PageID #: 16027

   PLF NO.   DATE OFFERED   MARKED      ADMITTED        DATE    DESCRIPTION                                    BEG BATES             END BATES   PRE-ADMITTED
PTX-0215                                           9/1/2017     E-mail from B. Hillman to C. Brasic     HILLMAN-000120749   HILLMAN-000120749         X
                                                                regarding comparison chart
                                                                between Hillman; Hy-Ko and Ilco;
                                                                B. Hillman Dep. Ex. 10
PTX-0217                                           9/7/2017     E-mail from B. Hillman to C. Brasic     HILLMAN-000121074   HILLMAN-000121074         X
                                                                regarding AutoX Claimed Coverage
PTX-0218                                           9/7/2017     AutoX Tool Vehicle Applications         HILLMAN-000121075   HILLMAN-000121079         X
                                                                PDF; attachment to HILLMAN-
                                                                000121074
PTX-0229                                           12/27/2017   E-mail from B. Hillman to C. DeHart     HILLMAN-000128319   HILLMAN-000128320         X
                                                                regarding Ace Regional Meeting
                                                                Deck; M. Peterman Dep. Ex. 6
                                                                (also referenced in B. Hillman
                                                                deposition)
PTX-0239                                           2/19/2018    E-mail and attachments from B.          HILLMAN-000131150   HILLMAN-000131153         X
                                                                Hillman to B. Spires regarding
                                                                Duracell competition
PTX-0243                                           3/6/2018     E-mail from T. Cuglietta to B.          HILLMAN-000131757   HILLMAN-000131758         X
                                                                Hillman regarding Ace Group/VIP
                                                                multi-store chains who buy from
                                                                Ace RSC
PTX-0246                                           4/26/2018    E-mail from B. Hillman to B. Linn       HILLMAN-000133416   HILLMAN-000133416         X
                                                                regarding Hillman Sales Team
                                                                Town Hall Presentation
PTX-0247                                           4/27/2018    Ace Town Hall Presentation 4-27-        HILLMAN-000133417   HILLMAN-000133442         X
                                                                2018.pdf; attachment to HILLMAN-
                                                                000133416
PTX-0249                                           4/27/2018    E-mail from R. Popkey to B.             HILLMAN-000133540   HILLMAN-000133540         X
                                                                Hillman regarding Ace VIP
                                                                Presentations
PTX-0251                                           5/2/2018     E-mail from R. Popkey to B.             HILLMAN-000134113   HILLMAN-000134114         X
                                                                Hillman regarding Cloning tool and
                                                                requirement for cell signal or
                                                                attached to wifi
PTX-0252                                           5/2/2018     E-mail from R. Popkey regarding         HILLMAN-000134115   HILLMAN-000134115         X
                                                                Cloning Tool requiring cell signal or
                                                                attached to wifi; R. Popkey Dep.
                                                                Ex. 15
PTX-0253                                           5/2/2018     Keyline Clonable Key Applications;      HILLMAN-000134116   HILLMAN-000134125         X
                                                                attachment to HILLMAN-
                                                                000134115; R. Popkey Dep. Ex. 16
PTX-0255                                           5/7/2018     E-mail and attachments from R.          HILLMAN-000134538   HILLMAN-000134538         X
                                                                Popkey regarding Keyline
                                                                Cloneable Key Applications; B.
                                                                Spires Dep. Ex. 14 (also referenced
                                                                in B. Hillman deposition)



                                                                                    -7-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 8 of 23 PageID #: 16028

   PLF NO.   DATE OFFERED   MARKED      ADMITTED        DATE   DESCRIPTION                                 BEG BATES             END BATES   PRE-ADMITTED
PTX-0256                                           5/7/2018    Smartbox Programming ability by      HILLMAN-000134539   HILLMAN-000134539         X
                                                               Make; Model; Year Excel sheet; B.
                                                               Spires Dep. Ex. 15; R. Popkey Dep.
                                                               Ex. 15; attachment to HILLMAN-
                                                               000134538
PTX-0257                                           5/7/2018    E-mail from B. Hillman regarding     HILLMAN-000134725   HILLMAN-000134726         X
                                                               Ace Key Program - Multi-Store
                                                               Concerns
PTX-0258                                           5/24/2018   E-mail from M. Cooper to B.          HILLMAN-000135556   HILLMAN-000135557         X
                                                               Hillman regarding Ace/Hillman RM
                                                               Presentation - Updated Deck &
                                                               Presentation Line-up;
PTX-0263                                           5/31/2018   E-mail from Matt Cooper regarding    HILLMAN-000136034   HILLMAN-000136035         X
                                                               Ace Field Team Alliances; C.
                                                               DeHart Dep. Ex. 6
PTX-0264                                           5/31/2018   Hillman TM by Store Listing.xls;     HILLMAN-000136036   HILLMAN-000136036         X
                                                               attachment to HILLMAN-
                                                               000136034
PTX-0266                                           6/11/2018   E-mail from B. Hillman regarding     HILLMAN-000136599   HILLMAN-000136600         X
                                                               Know thy competition (deck)
PTX-0269                                           6/21/2018   E-mail from B. Hillman to C.         HILLMAN-000137051   HILLMAN-000137051         X
                                                               Marshall regarding Ace Cincinnati
                                                               Dealer Group Presentation
PTX-0270                                           6/21/2018   Ace Cincinnati Dealer Group          HILLMAN-000137052   HILLMAN-000137062         X
                                                               Presentation.pptx; attachment to
                                                               HILLMAN-000137051
PTX-0271                                           7/19/2018   E-mail from B. Hillman to C.         HILLMAN-000138457   HILLMAN-000138457         X
                                                               Marshall regarding Ace Multi-Store
                                                               Key Presentation Costellos
PTX-0273                                           7/25/2018   E-mail from B. Hillman regarding     HILLMAN-000138644   HILLMAN-000138644         X
                                                               Ace Multi-Store Key Presentation
                                                               Frattallones
PTX-0281                                           9/20/2018   E-mail from J. Shambo regarding      HILLMAN-000141032   HILLMAN-000141033         X
                                                               regarding official agenda for
                                                               Retailer Group Meeting;
PTX-0282                                           9/20/2018   2018 Nat. RGL Meeting Agenda         HILLMAN-000141034   HILLMAN-000141036         X
                                                               9.10.docx; attachment to HILLMAN-
                                                               000141032
PTX-0286                                           9/20/2018   Attachment to e-mail from B.         HILLMAN-000141043   HILLMAN-000141045         X
                                                               Hillman regarding Ace - Duracell
                                                               presentation next week attaching
                                                               RGL template
PTX-0290                                           9/25/2018   E-mail from B. Hillman to R.         HILLMAN-000141338   HILLMAN-000141339         X
                                                               Popkey re Ace Meeting and
                                                               Duracell coverage; R. Popkey Dep.
                                                               Ex. 19


                                                                                 -8-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 9 of 23 PageID #: 16029

   PLF NO.   DATE OFFERED   MARKED      ADMITTED       DATE    DESCRIPTION                                   BEG BATES             END BATES   PRE-ADMITTED
PTX-0291                                           9/27/2018   E-mail from R. Popkey regarding        HILLMAN-000141691   HILLMAN-000141691         X
                                                               Duracell vs. Hy-Ko Top 10 vehicles
                                                               by Year and coverage spreadsheet;
                                                               Popkey Dep. Ex. 21 (also
                                                               referenced in B. Spires deposition)
PTX-0292                                           9/27/2018   Best Selling Cars by Year Excel        HILLMAN-000141692   HILLMAN-000141692         X
                                                               Sheet; R. Popkey Dep. Ex. 22 (also
                                                               referenced in J. Klippel and M.
                                                               Lonzo depositions)
PTX-0293                                           9/27/2018   E-mail from B. Hillman to J.           HILLMAN-000141745   HILLMAN-000141745         X
                                                               Shambo regarding bottom 3 years
                                                               including registered vehicles in top
                                                               10; B. Hillman Dep. Ex. 15
PTX-0294                                           9/27/2018   Best Selling Cars by Year              HILLMAN-000141746   HILLMAN-000141746         X
                                                               Spreadsheet; B. Hillman Dep.
                                                               Ex. 16 (native); attachment to
                                                               HILLMAN-000141745
PTX-0296                                           12/6/2018   E-mail from J. Shambo regarding        HILLMAN-000143907   HILLMAN-000143907         X
                                                               Infographic Data
PTX-0297                                           12/6/2018   Cloning timeline.pptx; attachment to   HILLMAN-000143908   HILLMAN-000143910         X
                                                               HILLMAN-000143907
PTX-0298-A                                         12/6/2018   Evolution of Keys spreadsheetR.        HILLMAN-000144079   HILLMAN-000144079         X
                                                               Popkey Dep.Ex 3; attachment to
                                                               HILLMAN-00144078
PTX-0306                                           4/30/2019   E-mail and attachments from B.         HILLMAN-000148344   HILLMAN-000148346         X
                                                               Hillman regarding Ace Regional
                                                               Meeting Slides
PTX-0310                                           9/15/2020   E-mail from B. Hillman to M. Lonzo     HILLMAN-000157272   HILLMAN-000157274         X
                                                               regarding Hillman Project Python
PTX-0312                                           10/8/2020   E-mail and attachments from B.         HILLMAN-000158253   HILLMAN-000158253         X
                                                               Hillman to G. Seeds regarding
                                                               Project Python Overview
PTX-0315                                           2/12/2015   E-mail from B. Miller to E. Kaehr      HILLMAN-000166164   HILLMAN-000166169         X
                                                               regarding Florida Walmart P4
                                                               program store visit notes;
PTX-0316                                           7/16/2015   E-mail from J. Campbell regarding      HILLMAN-000167261   HILLMAN-000167264         X
                                                               KOR testing update
PTX-0317                                           4/5/2016    E-mail and attachments from E.         HILLMAN-000168991   HILLMAN-000168991         X
                                                               Schirmann regarding Home Depot
                                                               KeyKrafter Launch underway
PTX-0320                                           4/5/2016    KeyKrafter Features and                HILLMAN-000169077   HILLMAN-000169078         X
                                                               Benefits.pdf; attachment to
                                                               HILLMAN-000168991
PTX-0321                                           4/5/2016    KeyKrafter Quick Start Guide.pd;       HILLMAN-000169079   HILLMAN-000169080         X
                                                               attachment to HILLMAN-
                                                               000168991


                                                                                  -9-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 10 of 23 PageID #: 16030

   PLF NO.   DATE OFFERED   MARKED       ADMITTED        DATE    DESCRIPTION                                 BEG BATES             END BATES   PRE-ADMITTED
PTX-0323                                            4/5/2016     Home Depot KeyKrafter Test Store     HILLMAN-000169082   HILLMAN-000169082         X
                                                                 List.xlsx; attachment to HILLMAN-
                                                                 000168991
PTX-0326                                            5/29/2020    YTD Chain Location                   HILLMAN-000191068   HILLMAN-000191068         X
                                                                 Report 2020.xlsx

PTX-0327                                            9/17/2016    E-mail from G. Gluchowski to G.      HILLMAN-000193618   HILLMAN-000193619         X
                                                                 Seeds regarding True Value Show
                                                                 Update; G. Seeds Dep. Ex. 3
PTX-0328                                            10/16/2016   E-mail from B. Hillman regarding     HILLMAN-000193638   HILLMAN-000193639         X
                                                                 Ace Hardware Project List
PTX-0340                                            12/21/2017   E-mail from G. Seeds to K. Becker    HILLMAN-000197522   HILLMAN-000197522         X
                                                                 regarding scheduling call
PTX-0341                                            12/21/2017   E-mail from G. Seeds to himself      HILLMAN-000197524   HILLMAN-000197525         X
                                                                 regarding meeting notes following
                                                                 interview of Kevin Becker; G.
                                                                 Seeds Dep. Ex. 22
PTX-0343                                            2/19/2018    E-mail from B. Linn to J. Shambo     HILLMAN-000198212   HILLMAN-000198212         X
                                                                 regarding Selling strategies - key
                                                                 retailers; J. Shambo Dep. Ex. 16
PTX-0350                                            3/1/2017     Presentation to Lowe's - Keys &      HILLMAN-000240509   HILLMAN-000240516         X
                                                                 Accessories HyKo Set Reviews
PTX-0352                                            7/24/2015    E-mail from J. White regarding       HILLMAN-000244688   HILLMAN-000244690         X
                                                                 PKOR Field Placements
PTX-0354                                            3/7/2017     E-mail from J. White regarding       HILLMAN-000253400   HILLMAN-000253401         X
                                                                 study of Hy-Ko competition at
                                                                 Lowe's
PTX-0361                                            8/3/2017     Lowes - Duracell Program             HILLMAN-000268608   HILLMAN-000268608         X
                                                                 Coverage Comparison.xlsx
PTX-0364                                            5/11/2016    Business Segement Strategic Plan     HILLMAN-000271301   HILLMAN-000271314         X
                                                                 Keys; Security and Accessories
                                                                 Powerpoint slides
PTX-0366                                            2/3/2022     E-mail forwarded from Peterman to    HILLMAN-000273507   HILLMAN-000273510         X
                                                                 himself regarding ACE PLR
                                                                 PowerPoint 09-28-2016; R.
                                                                 Popkey Dep. Ex. 28
PTX-0367                                            2/3/2022     E-mail from M. Peterman regarding    HILLMAN-000273520   HILLMAN-000273520         X
                                                                 Hillman Presentation for ACE and
                                                                 Duracell
PTX-0368                                            2/3/2022     Hillman Presentation for ACE;        HILLMAN-000273521   HILLMAN-000273530         X
                                                                 attachment to HILLMAN-
                                                                 000273520.pdf
PTX-0371                                                         Addendum to September 2001           HILLMAN-000273564   HILLMAN-000273569         X
                                                                 Exclusive License Agreement
                                                                 Document
PTX-0372                                                         Hillman and Laser Key Amendment      HILLMAN-000273570   HILLMAN-000273574         X
                                                                 to Exclusive License Agreement
                                                                 Document
                                                                                  -10-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 11 of 23 PageID #: 16031

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                    BEG BATES             END BATES   PRE-ADMITTED
PTX-0373                                                         Sales by Customers and Store            HILLMAN-000273583   HILLMAN-000273583         X
                                                                 spreadsheet; G. Seeds Dep. Ex. 26
PTX-0374                                            12/11/2017   E-mail from G. Seeds regarding Hy-      HILLMAN-000273584   HILLMAN-000273584         X
                                                                 Ko new patents; G. Seeds Dep.
                                                                 Ex. 20; T. Spangler Dep. Ex. 3
PTX-0375                                            11/6/2017    E-mail from M. Schmidt attaching        HILLMAN-000275196   HILLMAN-000275196         X
                                                                 ATD Slides from 2017 Quarterly
                                                                 Meeting; T. Spangler Dep. Ex. 5; G.
                                                                 Gluchowski Dep. Ex. 10
PTX-0376                                            8/4/2020     E-mail from G. Seeds regarding Hy-      HILLMAN-000277661   HILLMAN-000277664         X
                                                                 Ko Announcement and focusing on
                                                                 Ace store chains that still buy Hy-
                                                                 Ko keys; R. Fagundo Dep. Ex. 9
PTX-0378                                            9/5/2020     Hillman 2020 Confidential Information   HILLMAN-000292210   HILLMAN-000292337         X
                                                                 Presentation
PTX-0379                                                         Walmart Hillman D10 FY18 Keys           HILLMAN-000293237   HILLMAN-000293286         X
                                                                 and Accessories Presentation
PTX-0381                                            11/21/2016   E-mail and attachments from B.          HILLMAN-000293307   HILLMAN-000293497         X
                                                                 Hillman regarding Hillman/ACE
                                                                 proposal template; B. Hillman Dep.
                                                                 Ex. 5
PTX-0382                                            11/21/2016   Key Review VENDOR                       HILLMAN-000293310   HILLMAN-000293310         X
                                                                 PROPOSALS - Hillman FINAL
                                                                 Excel Sheet
PTX-0383                                            11/21/2016   Key Make; Model and Year                HILLMAN-000293498   HILLMAN-000293516         X
                                                                 Spreadsheet; B. Hillman Dep. Ex. 6
PTX-0388                                            5/4/2018     Orchard Supply Store Visits             HILLMAN-000295633   HILLMAN-000295678         X
                                                                 1/19/2016-1/21/2016 Presentation;
                                                                 attachment to HILLMAN-
                                                                 000295632
PTX-0401                                            3/3/2017     E-mail from R. Popkey to T.             HILLMAN-000320443   HILLMAN-000320444         X
                                                                 Spangler regarding Programmable
                                                                 keys
PTX-0415                                            9/1/2017     E-mail and attachments from B.          HILLMAN-000323289   HILLMAN-000323291         X
                                                                 Hillman regarding Duracell vs. Hyko
                                                                 OBD; Peterman Dep. Ex. 5
PTX-0416                                            9/1/2017     E-mail from R. Popkey to B.             HILLMAN-000323304   HILLMAN-000323307         X
                                                                 Hillman regarding Duracell vs. Hyko
                                                                 OBD; B. Hillman Dep. Ex. 9
PTX-0455                                            4/18/2018    Gen-KID System Sell Sheet               HILLMAN-000330826   HILLMAN-000330827         X
                                                                 061217.pdf; attachment to
                                                                 HILLMAN-000330784
PTX-0456                                            4/18/2018    New AutoX Programmer PDF;               HILLMAN-000330828   HILLMAN-000330828         X
                                                                 attachment to HILLMAN-
                                                                 000330784




                                                                                    -11-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 12 of 23 PageID #: 16032

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                    BEG BATES             END BATES   PRE-ADMITTED
PTX-0460                                                         E-mail from B. Hillman to R.            HILLMAN-000332460   HILLMAN-000332461         X
                                                                 Popkey regarding Ace VIP
                                                                 Presentations; Peterman Dep.
                                                                 Ex. 11
PTX-0461                                            5/2/2018     E-mail from M. Cooper regarding         HILLMAN-000332978   HILLMAN-000332980         X
                                                                 Ace VIP Presentation and top-10
                                                                 list of top selling vehicles dating
                                                                 back to 2010
PTX-0462                                            5/2/2018     Top 10 vehicles by year and             HILLMAN-000332981   HILLMAN-000332981         X
                                                                 coverage.xlsx; attachment to
                                                                 HILLMAN-000332978
PTX-0463                                            5/2/2018     E-mail from R. Popkey regarding         HILLMAN-000332982   HILLMAN-000332983         X
                                                                 ACE VIP Presentations; R. Popkey
                                                                 Dep. Ex. 14
PTX-0467                                            5/4/2018     E-mail from M. Peterman to B.           HILLMAN-000333168   HILLMAN-000333215         X
                                                                 Hillman regarding Key Machine
                                                                 information; Peterman Dep. Ex. 13
PTX-0468                                            5/7/2018     E-mail and attachments from J.          HILLMAN-000333510   HILLMAN-000333511         X
                                                                 Klippel regarding Key Machine Info
                                                                 Powerpoint
PTX-0470                                            5/7/2018     E-mail from B. Hillman regarding        HILLMAN-000333666   HILLMAN-000333667         X
                                                                 New Numbers based on most
                                                                 recent stats up to 2018; R. Popkey
                                                                 Dep. Ex. 17
PTX-0482                                            7/15/2014    E-mail and attachments from W.          HILLMAN-000357419   HILLMAN-000357425         X
                                                                 Meiers regarding NA sales quote;
                                                                 Basham Dep. Ex. 13
PTX-0485                                            10/2/2017    2017 Smartbox Placement                 HILLMAN-000399907   HILLMAN-000399907         X
                                                                 Agreement - First 350
                                                                 Stores.doc
PTX-0487                                            11/6/2018    E-mail from J. Shambo regarding         HILLMAN-000400929   HILLMAN-000400932         X
                                                                 Duracell creative
PTX-0495                                            12/12/2017   E-mail from G. Gluchowski to R.         HILLMAN-000431566   HILLMAN-000431591         X
                                                                 Kraft regarding potential transaction
                                                                 with Hy-Ko; G. Gluchowski Dep.
                                                                 Ex. 4
PTX-0496                                            12/17/2017   E-mail from G. Gluchowski to K.         HILLMAN-000431634   HILLMAN-000431635         X
                                                                 Steen regarding value of ACE key
                                                                 business; G. Gluchowski Dep. Ex. 6
PTX-0497                                            1/3/2017     E-mail and attachments from B.          HILLMAN-000443091   HILLMAN-000443091         X
                                                                 Hillman to Ace Hardware regarding
                                                                 Hillman & Ace - Key PLR
                                                                 Presentations
PTX-0500                                            11/8/2016    How Ace Wins 11-08-2016.pdf;            HILLMAN-000443218   HILLMAN-000443218         X
                                                                 attachment to HILLMAN-
                                                                 000443091


                                                                                    -12-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 13 of 23 PageID #: 16033

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                  BEG BATES               END BATES    PRE-ADMITTED
PTX-0501                                            11/23/2016   Ace Key Equipment Financials 11-      HILLMAN-000443219     HILLMAN-000443219          X
                                                                 23-2016.xlsx; attachment to
                                                                 HILLMAN-000443091
PTX-0503                                            11/23/2016   Vendor Quote by Keys Merch Class      HILLMAN-000443221     HILLMAN-000443221          X
                                                                 FD Hillman 11-23-2016.xlsx;
                                                                 attachment to HILLMAN-
                                                                 000443091
PTX-0510                                            12/11/2017   E-mail from B. Hillman to C. DeHart   HILLMAN-000444424     HILLMAN-000444425          X
                                                                 regarding Hy-Kos Ace accounts; C.
                                                                 DeHart Dep. Ex.7
PTX-0518                                            3/1/2017     E-mail and attachments from J.        HILLMAN-000455349     HILLMAN-000455359          X
                                                                 Leonard to D. Smercina; T.
                                                                 Spangler regarding presentations
                                                                 for CCMP; G. Gluchowski Dep.
                                                                 Ex. 1
PTX-0519                                                         KeyKrafter Business Case              HILLMAN-000455356     HILLMAN-000455359          X
                                                                 Overview 2-24-2017.pdf;
                                                                 attachment to HILLMAN-
                                                                 000455349
PTX-0527                                            12/19/201    Keykrafter Cuts by                    HILLMAN-000508446     HILLMAN-000508446          X
                                                    8            Machine Excel Sheet
PTX-0528                                                         Hillman SolidWorks Assemblies; J.     HILLMAN-000512999     HILLMAN-000512999          X
                                                                 White Dep. Ex. 11
PTX-0528-A                                                       CAD file HILLMAN-                     HILLMAN-000512999     HILLMAN-000512999          X
                                                                 000512999.sldasm
PTX-0528-B                                                       HILLMAN-000512999 CAD                                                                  X
                                                                 collection
PTX-0531                                                         Key Cutting Machine                   HILLMAN-000513342     HILLMAN-000513342          X
                                                                 moves including
                                                                 Axxess.xlsx
PTX-0532                                            1/25/2022    Photograph Taken During               HKINSPECT-000000001   HKINSPECT-000000001        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0533                                            1/25/2022    Photograph Taken During               HKINSPECT-000000002   HKINSPECT-000000002        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0534                                            1/25/2022    Photograph Taken During               HKINSPECT-000000003   HKINSPECT-000000003        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0536                                            1/25/2022    Video Taken During Inspection of      HKINSPECT-000000005   HKINSPECT-000000005        X
                                                                 Accused Products on Jan. 25, 2022
PTX-0537                                            1/25/2022    Video Taken During Inspection of      HKINSPECT-000000006   HKINSPECT-000000006        X
                                                                 Accused Products on Jan. 25, 2022
PTX-0539                                            1/25/2022    Video Taken During Inspection of      HKINSPECT-000000008   HKINSPECT-000000008        X
                                                                 Accused Products on Jan. 25, 2022
PTX-0540                                            1/25/2022    Video Taken During Inspection of      HKINSPECT-000000010   HKINSPECT-000000010        X
                                                                 Accused Products on Jan. 25, 2022

                                                                                   -13-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 14 of 23 PageID #: 16034

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE    DESCRIPTION                                BEG BATES              END BATES     PRE-ADMITTED
PTX-0541                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000011   HKINSPECT-000000011        X
                                                                Accused Products on Jan. 25, 2022
PTX-0542                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000012   HKINSPECT-000000012        X
                                                                Accused Products on Jan. 25, 2022
PTX-0543                                            1/25/2022   Photograph Taken During             HKINSPECT-000000019   HKINSPECT-000000019        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0544                                            1/25/2022   Photograph Taken During             HKINSPECT-000000026   HKINSPECT-000000026        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0545                                            1/25/2022   Photograph Taken During             HKINSPECT-000000032   HKINSPECT-000000032        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0546                                            1/25/2022   Photograph Taken During             HKINSPECT-000000035   HKINSPECT-000000035        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0547                                            1/25/2022   Photograph Taken During             HKINSPECT-000000040   HKINSPECT-000000040        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0549                                            1/25/2022   Photograph Taken During             HKINSPECT-000000047   HKINSPECT-000000047        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0550                                            1/25/2022   Photograph Taken During             HKINSPECT-000000050   HKINSPECT-000000050        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0552                                            1/25/2022   Photograph Taken During             HKINSPECT-000000056   HKINSPECT-000000056        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0553                                            1/25/2022   Photograph Taken During             HKINSPECT-000000061   HKINSPECT-000000061        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0554                                            1/25/2022   Photograph Taken During             HKINSPECT-000000063   HKINSPECT-000000063        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0556                                            1/25/2022   Photograph Taken During             HKINSPECT-000000071   HKINSPECT-000000071        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0559                                            1/25/2022   Photograph Taken During             HKINSPECT-000000109   HKINSPECT-000000109        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0561                                            1/25/2022   Photograph Taken During             HKINSPECT-000000119   HKINSPECT-000000119        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0562                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000120   HKINSPECT-000000120        X
                                                                Accused Products on Jan. 25, 2022
PTX-0563                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000121   HKINSPECT-000000121        X
                                                                Accused Products on Jan. 25, 2022

                                                                                 -14-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 15 of 23 PageID #: 16035

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE    DESCRIPTION                                BEG BATES              END BATES     PRE-ADMITTED
PTX-0564                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000122   HKINSPECT-000000122        X
                                                                Accused Products on Jan. 25, 2022
PTX-0565                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000123   HKINSPECT-000000123        X
                                                                Accused Products on Jan. 25, 2022
PTX-0567                                            1/25/2022   Photograph Taken During             HKINSPECT-000000156   HKINSPECT-000000156        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0570                                            1/25/2022   Photograph Taken During             HKINSPECT-000000160   HKINSPECT-000000160        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0572                                            1/25/2022   Photograph Taken During             HKINSPECT-000000162   HKINSPECT-000000162        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0573                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000165   HKINSPECT-000000165        X
                                                                Accused Products on Jan. 25, 2022
PTX-0574                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000167   HKINSPECT-000000167        X
                                                                Accused Products on Jan. 25, 2022
PTX-0575                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000169   HKINSPECT-000000169        X
                                                                Accused Products on Jan. 25, 2022
PTX-0576                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000170   HKINSPECT-000000170        X
                                                                Accused Products on Jan. 25, 2022
PTX-0577                                            1/25/2022   Video Taken During Inspection of    HKINSPECT-000000171   HKINSPECT-000000171        X
                                                                Accused Products on Jan. 25, 2022
PTX-0580                                            1/25/2022   Photograph Taken During             HKINSPECT-000000190   HKINSPECT-000000190        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0581                                            1/25/2022   Photograph Taken During             HKINSPECT-000000191   HKINSPECT-000000191        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0583                                            1/25/2022   Photograph Taken During             HKINSPECT-000000194   HKINSPECT-000000194        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0584                                            1/25/2022   Photograph Taken During             HKINSPECT-000000197   HKINSPECT-000000197        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0586                                            1/25/2022   Photograph Taken During             HKINSPECT-000000201   HKINSPECT-000000201        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0587                                            1/25/2022   Photograph Taken During             HKINSPECT-000000205   HKINSPECT-000000205        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0588                                            1/25/2022   Photograph Taken During             HKINSPECT-000000207   HKINSPECT-000000207        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022
PTX-0589                                            1/25/2022   Photograph Taken During             HKINSPECT-000000209   HKINSPECT-000000209        X
                                                                Inspection of Accused Products on
                                                                Jan. 25, 2022

                                                                                 -15-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 16 of 23 PageID #: 16036

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                 BEG BATES              END BATES     PRE-ADMITTED
PTX-0590                                            1/25/2022    Photograph Taken During              HKINSPECT-000000210   HKINSPECT-000000210        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0592                                            1/25/2022    Photograph Taken During              HKINSPECT-000000216   HKINSPECT-000000216        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0593                                            1/25/2022    Photograph Taken During              HKINSPECT-000000217   HKINSPECT-000000217        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0595                                            1/25/2022    Photograph Taken During              HKINSPECT-000000219   HKINSPECT-000000219        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0597                                            1/25/2022    Video Taken During Inspection of     HKINSPECT-000000252   HKINSPECT-000000252        X
                                                                 Accused Products on Jan. 25, 2022
PTX-0598                                            1/25/2022    Video Taken During Inspection of     HKINSPECT-000000253   HKINSPECT-000000253        X
                                                                 Accused Products on Jan. 25, 2022
PTX-0599                                            1/25/2022    Video Taken During Inspection of     HKINSPECT-000000254   HKINSPECT-000000254        X
                                                                 Accused Products on Jan. 25, 2022
PTX-0601                                            1/25/2022    Photograph Taken During              HKINSPECT-000000264   HKINSPECT-000000264        X
                                                                 Inspection of Accused Products on
                                                                 Jan. 25, 2022
PTX-0612                                            6/20/2017    Texas 80 Bit Cloning-Precoding       HY-KO00009780         HY-KO00009781              X
                                                                 North American Application Chart
PTX-0617                                            11/13/2017   E-mail from M. Bass to Ace           HY-KO00009933         HY-KO00009934              X
                                                                 regarding false cloning statements
PTX-0618                                            4/28/2017    Ace Key and Key Accessory            HY-KO00012841         HY-KO00012856              X
                                                                 Update Powerpoint
PTX-0619                                            10/17/2016   FINAL ACE PLR Presentation -         HY-KO00012903         HY-KO00013030              X
                                                                 ACE and Hy-Ko 5 Year Strategic
                                                                 Plan 10.17.2016.pptx
PTX-0620                                            1/13/2017    Ace - Hy-Ko 2017 Key Review          HY-KO00013409         HY-KO00013427              X
                                                                 Implementation Strategy.pdf
PTX-0621                                            1/6/2017     Ace Key Program Action Plan          HY-KO00013428         HY-KO00013459              X
                                                                 1.6.2017.pdf
PTX-0622                                            10/17/2016   Ace and Hy-Ko 2016 5 Year            HY-KO00013460         HY-KO00013587              X
                                                                 Strategic Plan Powerpoint Slides
PTX-0624                                            3/29/2017    Hy-Ko Ace 2017 The Key &amp;         HY-KO00014593         HY-KO00014614              X
                                                                 Key Accessory Market Trend Study
                                                                 Powerpoint Slides
PTX-0625                                            4/21/2021    12-2019 Wal-Mart Customer            HY-KO00014797         HY-KO00014797              X
                                                                 Model.xlsx
PTX-0631                                                         Hy-Ko Patent Assignment Cover        HY-KO00016235         HY-KO00016239              X
                                                                 Sheet Change of Name
PTX-0632                                            7/20/2020    Hy-Ko Letter Agreement Regarding     HY-KO00016240         HY-KO00016644              X
                                                                 Asset Sale - signed & clean
                                                                 document
PTX-0633                                            7/21/2020    Patent Assignment Cover Sheet        HY-KO00016645         HY-KO00016654              X
                                                                 Nunc Pro Tunc assignment.pdf
                                                                                  -16-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 17 of 23 PageID #: 16037

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                 BEG BATES            END BATES   PRE-ADMITTED
PTX-0634                                            7/21/2020    Patent Assignment Cover Sheet        HY-KO00016655      HY-KO00016674             X
                                                                 New Assignment.pdf
PTX-0635                                            2/22/2021    Assignment of 3rd party claims       HY-KO00016675      HY-KO00016689             X
                                                                 (Exec.) with Ex. A document
PTX-0640                                            1/6/2018     Hy-Ko 2017 Polk Analysis             HY-KO00016703      HY-KO00016703             X
                                                                 Summary.xlsx
PTX-0641                                            7/21/2020    Hy-Ko Assignment of IP document      HY-KO00016704      HY-KO00016718             X
PTX-0642                                                         Assignment of Patents made and       HY-KO00016730      HY-KO00016758             X
                                                                 entered into by and among M.
                                                                 Bass; R. Drake; C. Thompson; R.
                                                                 Ryai and Hy-Ko.
PTX-0643                                            5/4/2021     Petition to Correct Inventorship     HY-KO00016771      HY-KO00016780             X
PTX-0644                                            5/20/2021    Correspondence from USPTO            HY-KO00016781      HY-KO00016782             X
                                                                 regarding granting of petition to
                                                                 correct inventorship
PTX-0645                                            7/11/2016    ACE Ks KA Line Review Pricing        HY-KO00017507      HY-KO00017509             X
                                                                 Proposal Guideline.pdf
PTX-0649                                            12/31/201    Hy-Ko Products Company               HY-KO00019255      HY-KO00019263             X
                                                    9            Consolidated Financial
                                                                 Statements; dated
                                                                 12/31/2019
PTX-0650                                                         Hy-Ko 2018 Consolidated              HY-KO00019264      HY-KO00019290             X
                                                                 Financial Statements
PTX-0651                                            12/31/201    Hy-Ko Products Company               HY-KO00019291      HY-KO00019319             X
                                                    8            Consolidated Financial
                                                                 Statements; dated
                                                                 12/31/2018
PTX-0652                                            12/31/2017   Hy-Ko Products Company               HY-KO00019320      HY-KO00019372             X
                                                                 Consolidated Financial Statements;
                                                                 dated 12/31/2017
PTX-0653                                            12/31/2016   Hy-Ko Products Company               HY-KO00019373      HY-KO00019394             X
                                                                 Consolidated Financial Statements;
                                                                 dated 12/31/2016
PTX-0655                                            12/31/201    Hy-Ko Products Company               HY-KO00019413      HY-KO00019430             X
                                                    4            Consolidated Financial
                                                                 Statements; dated
                                                                 12/31/2014
PTX-0656                                            12/31/201    Hy-Ko Products Company               HY-KO00019431      HY-KO00019450             X
                                                    3            Consolidated Financial
                                                                 Statements; dated
                                                                 12/31/2013
PTX-0657                                            12/31/201    Hy-Ko Products Company               HY-KO00019451      HY-KO00019471             X
                                                    2            Consolidated Financial
                                                                 Statements; dated
                                                                 12/31/2012



                                                                                  -17-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 18 of 23 PageID #: 16038

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                 BEG BATES            END BATES   PRE-ADMITTED
PTX-0660                                            12/15/2017   E-mail and attachments from M.       HY-KO00024604      HY-KO00246061             X
                                                                 Keefe to G. Gluchowski regarding
                                                                 Project Squire Hillman disucssion;
                                                                 R. Fagundo Dep. Ex.13 (also
                                                                 referenced in G. Gluchowski
                                                                 deposition)
PTX-0666                                            12/18/2017   Hillman Confidential Edgepoint       HY-KO00034506      HY-KO00034522             X
                                                                 Discussion Material; attachment to
                                                                 HY-KO00034505
PTX-0667                                            7/21/2020    Secured Party Asset Purchase         HY-KO00034523      HY-KO00034715             X
                                                                 Agreement - signed document
PTX-0668                                            7/21/2020    KeyBank and HKP Acquisition LLC      HY-KO00034716      HY-KO00034718             X
                                                                 Bill of Sale - signed document
PTX-0671                                            7/21/2020    Surrender Agreement and              HY-KO00039054      HY-KO00039137             X
                                                                 Assignment - signed document
PTX-0680                                                         KID Machine training video           HY-KO00051973      HY-KO00051973             X
PTX-0683                                            2/16/2006    Hy-Ko KID+ Development               HY-KO00052496      HY-KO00052507             X
PTX-0688                                            2/16/2021    KeyBank - Hy-Ko UCC Financing        HY-KO00064714      HY-KO00064727             X
                                                                 Termination Amendment.pdf
PTX-0689                                            1/22/2020    Hy-Ko Financial Report               HY-KO00066350      HY-KO00066350             X
                                                                 2019 Excel Sheet
PTX-0690                                            8/24/2020    Hy-Ko Financial Report               HY-KO00066463      HY-KO00066463             X
                                                                 2020 Excel Sheet
PTX-0691                                            12/17/202    Hy-Ko Equipment Lease                HY-KO00066541      HY-KO00066541             X
                                                    0            Tracker Master Excel
                                                                 Sheet
PTX-0699                                            12/16/202    Category by Customer                 HY-KO00080965      HY-KO00080965             X
                                                    1            2016.xlsx
PTX-0700                                            12/18/202    Category by Customer                 HY-KO00080966      HY-KO00080966             X
                                                    1            2017.xlsx
PTX-0701                                            12/16/202    Category by Customer                 HY-KO00080967      HY-KO00080967             X
                                                    1            2018.xlsx
PTX-0702                                            12/15/202    Category by Customer                 HY-KO00080968      HY-KO00080968             X
                                                    1            2019.xlsx
PTX-0703                                            12/15/202    Category by Customer                 HY-KO00080969      HY-KO00080969             X
                                                    1            2020.xlsx
PTX-0704                                            12/16/202    Category by Customer                 HY-KO00080970      HY-KO00080970             X
                                                    1            2021.xlsx
PTX-0707                                            10/23/2020   IP Development Costs.xlsx            HY-KO00088705      HY-KO00088705             X
PTX-0708                                                         U.S. Patent No. 7,891,919            HY-KO00091168      HY-KO00091204             X
PTX-0709                                                         Email from M. Hillman to Officers    HY-KO00105430      HY-KO00105432             X
                                                                 Group regarding Lowes Minute Key
                                                                 Notes
PTX-0711                                                         Hy-Ko 2017 ACE The Key & Key         HY-KO00109414      HY-KO00109435             X
                                                                 Accessory Market Trend Study
                                                                 Powerpoint Slides


                                                                                   -18-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 19 of 23 PageID #: 16039

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE     DESCRIPTION                                     BEG BATES            END BATES   PRE-ADMITTED
PTX-0715                                            5/19/2011    Notes on FastKey & Laser Key             HY-KO00120882      HY-KO00120885             X
                                                                 Production Plan
PTX-0726                                            1/24/2022    Hy-ko Key Logs Excel                     HY-KO00138699      HY-KO00138699             X
                                                                 Sheet
PTX-0727                                                         2012 Hy-Ko Walmart                       HY-KO00138700      HY-KO00138700             X
                                                                 Returns Excel Sheet
PTX-0728                                                         2013 Hy-Ko Walmart                       HY-KO00138701      HY-KO00138701             X
                                                                 Returns Excel Sheet
PTX-0729                                                         2014 Hy-Ko Walmart                       HY-KO00138702      HY-KO00138702             X
                                                                 Returns Excel Sheet
PTX-0730                                                         2015 Hy-Ko Walmart                       HY-KO00138703      HY-KO00138703             X
                                                                 Returns Excel Sheet
PTX-0734                                            12/15/2017   E-mail and attachments from M.           HY-KO00246044      HY-KO00246061             X
                                                                 Keefe to G. Gluchowski regarding
                                                                 Confidential Information for
                                                                 Mondays Meeting with Edgepoint;
                                                                 R. Fagundo Dep. Ex. 13
PTX-0740                                                         Hy-Ko coverage spreadsheet; Rudd         HY-KO00255081      HY-KO00255081             X
                                                                 Dep. Ex. 8
PTX-0743                                            3/1/2019     03/2019 Confidential Information         HY-KO00267344      HY-KO00267403             X
                                                                 Memo; attachment to HY-
                                                                 KO00267343; R. Fagundo Dep.
                                                                 Ex. 15
PTX-0747                                                         Patent New Assignment Nunc Pro           HY-KO00295036      HY-KO00295056             X
                                                                 Assignment
PTX-0749                                            5/30/2017    E-mail from P. Spurrier to B. Mutch      HY-KO00301386      HY-KO00301386             X
                                                                 regarding Motorscan applications
PTX-0750                                            5/30/2017    Copy of Filtered Hy-Ko Coverage          HY-KO00301387      HY-KO00301387             X
                                                                 list v.1.0.1 rev.2.xlsx; attachment to
                                                                 HY-KO00301386
PTX-0767                                                         60761293 - Provisional Application                                                    X
                                                                 File Wrapper
PTX-0770                                                         P4 / PKOR Laser Key Machine                                                           X
                                                                 Service & Technical Guide; Exhibit
                                                                 2 to Notice of Additional
                                                                 Attachments to Declaration of Radu
                                                                 A. Lelutiu filed with Hillman's Reply
                                                                 in Support of Its Motion for an
                                                                 Order Directing the Parties to
                                                                 Follow the Court's Model Order
                                                                 Focusing Patent Claims and Prior
                                                                 Art (ECF 52 filed under seal)




                                                                                    -19-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 20 of 23 PageID #: 16040

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE    DESCRIPTION                                    BEG BATES           END BATES   PRE-ADMITTED
PTX-0771                                                        KeyKrafter Service Guide, Exhibit 3                                                 X
                                                                to Notice of Additional Attachments
                                                                to Declaration of Radu A. Lelutiu
                                                                filed with Hillman's Reply in Support
                                                                of Its Motion for an Order Directing
                                                                the Parties to Follow the Court's
                                                                Model Order Focusing Patent
                                                                Claims and Prior Art (ECF 52 filed
                                                                under seal)
PTX-0772                                                        Final Version - Hy-Ko Tutorial                                                      X
                                                                Video
PTX-0933                                                        A KZA 200 machine, and a set of                                                     X
                                                                test keys
PTX-0937                                            7/21/2016   E-mail and attachment from T.           AKG-000090         AKG-000100               X
                                                                Spangler to R. Popkey regarding
                                                                list of coverage; T. Spangler Dep.
                                                                Ex. 6
PTX-0938                                                        U.S. Patent No. 9,656,332 (with         HY-KO00038970      HY-KO00039011            X
                                                                U.S. Patent and Trademark Office
                                                                certification dated June 15, 2021)
PTX-0940                                                        U.S. Patent No. 9,687,920 (with         HY-KO00039012      HY-KO00039053            X
                                                                U.S. Patent and Trademark Office
                                                                certification dated June 15, 2021)
PTX-0941                                                        U.S. Patent No. 10,421,133 (with        HY-KO00081070      HY-KO00081112            X
                                                                U.S. Patent and Trademark Office
                                                                certification dated September 24,
                                                                2019)
PTX-0942                                            5/6/2005    Key Scanner and Cutter –                HY-KO00004963      HY-KO00004995            X
                                                                Development Plan and Status
                                                                presentation
PTX-0949                                            11/3/2016   Lowe's Vendor Supply Chain              HY-KO00064105      HY-KO00064144            X
                                                                Review presentation




PTX-0950                                                        Combined Assignment and                 HY-KO00006309      HY-KO00006317            X
                                                                Declaration of Patent Application
                                                                for U.S. Patent No. 9,656,332
PTX-0951                                                        Combined Assignment and                 HY-KO00008522      HY-KO00008530            X
                                                                Declaration of Patent Application
                                                                for U.S. Patent No. 9,687,920
PTX-0952                                                        Combined Assignment and                 HY-KO00009743      HY-KO00009751            X
                                                                Declaration of Patent Application
                                                                for U.S. Patent No. 10,421,133

                                                                                   -20-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 21 of 23 PageID #: 16041

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE    DESCRIPTION                                BEG BATES             END BATES   PRE-ADMITTED
PTX-0953                                                        Screenshots of Hillman Solidworks   HILLMAN-000014355   HILLMAN-000014355         X
                                                                Drawing; S. Basham Dep. Ex. 28
PTX-0953-A                                                      CAD file HILLMAN-                   HILLMAN-000014355   HILLMAN-000014355         X
                                                                000014355.sldasm
PTX-0953-B                                                      HILLMAN-000014355 CAD                                                             X
                                                                collection
PTX-0954                                            9/12/2016   U.S. Patent No. 9,656,332 -                                                       X
                                                                Assignment from Inventors to Old
                                                                Hy-Ko (Download from USPTO
                                                                database)
PTX-0955                                            3/24/2021   U.S. Patent No. 9,656,332 –                                                       X
                                                                Assignment from Old Hy-Ko to HKP
                                                                Acquisition (Download from USPTO
                                                                database)
PTX-0956                                            3/24/2021   U.S. Patent No. 9,656,332 – Name                                                  X
                                                                Change of HKP Acquisition to New
                                                                Hy-Ko (Download from USPTO
                                                                database)
PTX-0957                                            3/24/2021   U.S. Patent No. 9,656,332 – Nunc                                                  X
                                                                Pro Tunc Assignment (Download
                                                                from USPTO database)
PTX-0958                                            5/6/2022    U.S. Patent No. 9,656,332 –                                                       X
                                                                Corrective Assignment from Old
                                                                Hy-Ko to New Hy-Ko (Download
                                                                from USPTO database)
PTX-0959                                            9/12/2016   U.S. Patent No. 9,687,920 –                                                       X
                                                                Assignment from Inventors to Old
                                                                Hy-Ko (Download from USPTO
                                                                database)
PTX-0960                                            3/24/2021   U.S. Patent No. 9,687,920 –                                                       X
                                                                Assignment from Old Hy-Ko to HKP
                                                                Acquisition (Download from USPTO
                                                                database)
PTX-0961                                            3/24/2021   U.S. Patent No. 9,687,920 – Name                                                  X
                                                                Change of HKP Acquisition to New
                                                                Hy-Ko (Download from USPTO
                                                                database)
PTX-0962                                            3/24/2021   U.S. Patent No. 9,687,920 – Nunc                                                  X
                                                                Pro Tunc Assignment (Download
                                                                from USPTO database)
PTX-0963                                            5/6/2022    U.S. Patent No. 9,687,920 –                                                       X
                                                                Corrective Assignment from Old
                                                                Hy-Ko to New Hy-Ko (Download
                                                                from USPTO database)
PTX-0964                                            9/12/2016   U.S. Patent No. 10,421,133 –                                                      X
                                                                Assignment from Inventors to Old
                                                                Hy-Ko (Download from USPTO
                                                                database)
                                                                                 -21-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 22 of 23 PageID #: 16042

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE    DESCRIPTION                                  BEG BATES             END BATES   PRE-ADMITTED
PTX-0965                                            3/24/2021   U.S. Patent No. 10,421,133 –                                                        X
                                                                Assignment from Old Hy-Ko to HKP
                                                                Acquisition (Download from USPTO
                                                                database)
PTX-0966                                            3/24/2021   U.S. Patent No. 10,421,133 –                                                        X
                                                                Name Change of HKP Acquisition
                                                                to New Hy-Ko (Download from
                                                                USPTO database)
PTX-0967                                            3/24/2021   U.S. Patent No. 10,421,133 – Nunc                                                   X
                                                                Pro Tunc Assignment (Download
                                                                from USPTO database)
PTX-0968                                            5/6/2022    U.S. Patent No. 10,421,133 –                                                        X
                                                                Corrective Assignment from Old
                                                                Hy-Ko to New Hy-Ko (Download
                                                                from USPTO database)
PTX-0969                                                        Consolidated document containing                                                    X
                                                                U.S. Patent No. 9,656,332
                                                                assignments downloaded from
                                                                USPTO database
PTX-0970                                                        Consolidated document containing                                                    X
                                                                U.S. Patent No. 9,687,920
                                                                assignments downloaded from
                                                                USPTO database
PTX-0971                                                        Consolidated document containing                                                    X
                                                                U.S. Patent No. 10,421,133
                                                                assignments downloaded from
                                                                USPTO database
PTX-0972                                                        KeyKrafter User Guide Associate       HILLMAN-000011437   HILLMAN-000011467         X
                                                                Unit with Key Identifier PDF
PTX-0974                                                        P4 Video                              HILLMAN-00009166    HILLMAN-00009166          X
PTX-0983                                                        KID Machine Label with reference      HY-KO00163494       HY-KO00163494             X
                                                                to patent listing website.
PTX-0986                                            4/25/2019   E-mail from C. Marshall to            HILLMAN-000211611   HILLMAN-000211611         X
                                                                managers regarding April 2019
                                                                District Conference Call Agenda
PTX-0987                                            4/26/2019   April 2019 Conference Call            HILLMAN-000211612   HILLMAN-000211613         X
                                                                Agenda; attachment to HILLMAN-
                                                                000211611
PTX-0988                                                        Hillman/Duracell vs. Hy-Ko            HILLMAN-000211614   HILLMAN-000211623         X
                                                                presentation; attachment to
                                                                HILLMAN-000211611
PTX-0989                                            4/29/2019   E-mail from R. Pollard to             HILLMAN-000298815   HILLMAN-000298815         X
                                                                StoreDirect2D regarding "Ace Stuff"
PTX-0990                                                        Hillman/Duracell vs. Hy-Ko            HILLMAN-000298816   HILLMAN-000298825         X
                                                                presentation; attachment to
                                                                HILLMAN-000298815


                                                                                  -22-
                                     Case 2:21-cv-00197-JRG Document 287 Filed 10/03/22 Page 23 of 23 PageID #: 16043

   PLF NO.   DATE OFFERED   MARKED       ADMITTED       DATE    DESCRIPTION                                  BEG BATES               END BATES   PRE-ADMITTED
PTX-0991                                            4/25/2019   E-mail from C. Marshall to D.         HILLMAN-000237454/.   HILLMAN-000237454         X
                                                                Smercina regarding Ace News
                                                                Update Volume 3, Issue 4
PTX-0992                                            4/26/2019   Ace News Update Volume 3, Issue       HILLMAN-000237455     HILLMAN-000237455         X
                                                                4, attachment to HILLMAN-
                                                                000237454
PTX-0993                                                        Hillman/Duracell vs. Hy-Ko            HILLMAN-000237456     HILLMAN-000237465         X
                                                                presentation; attachment to
                                                                HILLMAN-000237454
PTX-0997                                            1/21/2021   Assignment and Consulting             HY-KO00016135         HY-KO00016172             X
                                                                Agreement between Hy-Ko
                                                                Products Company LLC and
                                                                Michael Bass
PTX-0999                                            6/24/2013   Information Disclosure Statement                                                      X
                                                                by Applicant for 13/925,379
                                                                (Burkett)
PTX-1000                                            9/7/2016    Orchard Supply Store Visits 1/9/16-   HILLMAN-000333512     HILLMAN-000333557         X
                                                                1/21/16 presentaton




                                                                                  -23-
